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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

 ASHLEY SHEFFIELD,                                     )
 on behalf of herself and all persons similarly        )
 situated,                                             )
                                                       )
                    Plaintiff,                         )
                                                       )
 v.                                                    )   Civil Case No. 23-11757
                                                       )
 U.S. DEPARTMENT OF VETERANS                           )
 AFFAIRS, DENIS MCDONOUGH,                             )          COMPLAINT
 in his official capacity as United States             )       (Jury Trial Demanded)
 Secretary of Veterans Affairs, and                    )
 IVAN E. CORREA, individually and in his               )
 capacity as acting Chief of Staff for Edward P.       )
 Boland VA Medical Center,                             )
                                                       )
                   Defendants.                         )

                                 PRELIMINARY STATEMENT

       Since the founding of our nation, members of the lesbian, gay, bisexual, transgender, queer,

and other sexual minority (LGBTQ+) community have honorably served in our military. Yet for

over two hundred years, those same service members and veterans have experienced both official

and unofficial discrimination because of who they are and who they love. As far back as the

American Revolution, homosexual activity meant discharge from the armed forces. In 1982, the

military enacted an explicit ban on gay men and lesbians from serving. The 1990s brought both

the “Don’t Ask, Don’t Tell” policy, which prohibited LGBTQ+ service members from serving

openly in the military, and the Defense of Marriage Act (DOMA), which defined marriage under

federal law solely as the legal union between one man and one woman as husband and wife.

       Only recently has our nation begun, haltingly, to correct these injustices. In 2003,

Massachusetts became the first state to recognize same-sex marriages. In 2011, the Don’t Ask,

Don’t Tell policy was repealed. In 2013, the United States Supreme Court struck down DOMA’s


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discriminatory definition of marriage as unconstitutional, and two years later, the Court held that

state bans on same-sex marriage are also unconstitutional, making same-sex marriage legal in all

fifty states. Transgender service members were officially allowed to serve openly in the military

only in 2015, but then were subject to a ban under the Trump Administration, which was then

repealed by President Biden in 2021. Finally, in December 2022, Congress passed the bipartisan

Respect for Marriage Act, which formally repealed DOMA and guaranteed that the marriages of

opposite-sex and same-sex couples will be treated equally under federal law. When President

Biden signed the Respect for Marriage Act, he explained that “For most of our nation’s history,

we denied interracial couples and same-sex couples from these protections. We failed. We failed

to treat them with an equal dignity and respect. And now, the law requires that interracial marriages

and same-sex marriage must be recognized as legal in every state in the nation.”

        Notwithstanding this profound change in the law in recent years, the long history of

officially sanctioned bigotry towards the LGBTQ+ military and veteran community persists today,

not only in individuals’ biases but also in the vestiges of unconstitutional, discriminatory laws and

policies that remain on the books.

        One such law prohibits disabled veterans in same-sex marriages from receiving the same

fertility care as other veterans in opposite-sex marriages.1 This patently discriminatory law barred

Plaintiff Ashley Sheffield from obtaining in vitro fertilization (IVF) from the Department of

Veterans Affairs (VA) because she is married to another woman—10 years after the Supreme

Court struck down DOMA. Why? Because a federal appropriations statute for VA medical care

refers to a 2012 Department of Defense memorandum that limited IVF services to service members


1
  For the purposes of this Complaint, the term “opposite-sex marriage(s)” refers to cisgender opposite-sex marriages
or marriages in which the two married individuals have opposite-sex gametes/reproductive organs. This is because
the VA policy, by its own terms, would provide IVF to an otherwise-eligible veteran and spouse as long as they have
opposite-sex gametes/reproductive organs.


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in heterosexual marriages, based on DOMA’s unconstitutional definition of marriage. By

enforcing these outdated, discriminatory, and unconstitutional requirements for veterans to receive

government benefits, the government is breathing new life into discriminatory relics of a legal

landscape that the Supreme Court of the United States has thoroughly rebuffed.

       LGBTQ+ veterans like Ashley Sheffield who have bravely sacrificed for our country

deserve equal treatment when they seek the medical benefits they have earned. In 2023, it should

go without saying that LGBTQ+ veterans are entitled to equal treatment under the law. VA must

end its blatant and willful discrimination of veterans in same-sex marriages and provide Ms.

Sheffield, and all other veterans denied IVF because of sex and sexual orientation, the health care

they have earned.

                                 JURISDICTION AND VENUE

1.     This Court has subject matter jurisdiction of this action under 28 U.S.C. § 1331 because

the matter in controversy arises under laws of the United States and the United States Constitution.

Plaintiff Ashley Sheffield challenges the facial constitutionality of a federal statute and policy and

seeks damages under 42 U.S.C. § 18116(a) and other applicable law. She does not seek review of

any decisions of the Secretary of VA related to benefits. Therefore, this action is not barred by

38 U.S.C. § 511(a).

2.     Venue is proper in this Court under 28 U.S.C. § 1391(e)(1). Ms. Sheffield lives in

Massachusetts, and a substantial part of the events that gave rise to the Plaintiff’s claims took place

within the District.

3.     This Court has the authority to enter declaratory judgment and to provide preliminary and

permanent injunctive relief in accordance with Rules 57 and 65 of the Federal Rules of Civil

Procedure, and 28 U.S.C. §§ 2201 and 2202.




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                                              PARTIES

4.      Plaintiff Ashley Sheffield is a decorated veteran who honorably served in the United States

Air Force for nearly 20 years. She is a resident of Massachusetts. In addition to bringing this civil

action individually, Plaintiff brings this as a class action on behalf of all persons similarly situated,

who are veterans in same-sex marriages who have been denied IVF by VA.

5.      Defendant Denis McDonough is the United States Secretary of Veterans Affairs and the

top official of the Department of Veterans Affairs, which has its headquarters located at 810

Vermont Avenue, NW, Washington, DC 20420.

6.      Defendant Department of Veterans Affairs is a department of the executive branch of the

United States government, and its headquarters is located at 810 Vermont Avenue, NW,

Washington, DC, 20420.

7.      Defendant Ivan E. Correa is the current Chief of Staff for the VA Central Western

Massachusetts Health Care System (VACWM), which is part of the VA New England Healthcare

System, known as Veterans Integrated Services Network 1 (VISN1). VISN1 is headquartered in

Eastern Massachusetts, in Middlesex County, at 200 Springs Road, Bedford, MA 01730. Dr.

Correa was Acting Chief of Staff for VACWM in July 2022 when he sent Ms. Sheffield a letter

denying her IVF services because she is married to another woman.

                                     STATEMENT OF FACTS

I.      Legal Framework

8.      Section 234 of the Military Construction, Veterans Affairs, and Related Agencies

Appropriations Act of 2021 (2021 Appropriations Act) gave VA the authority to provide in-vitro

fertilization (IVF) services to veterans. The 2022 Appropriations Act is, in pertinent part, identical.




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9.      Section 234 of the 2021 Appropriations Act authorizes, specifically, “fertility counseling

and treatment using assisted reproductive technology to a covered veteran or the spouse of a

covered veteran.”

10.     A “covered veteran” under Section 234 is a veteran with “a service-connected disability

that results in the inability of the veteran to procreate without the use of fertility treatment.”

11.     “Assisted reproductive technology” under Section 234 means “benefits relating to

reproductive assistance provided to a member of the Armed Forces who incurs a serious injury or

illness on active duty . . . as described in the memorandum on the subject of ‘Policy for Assisted

Reproductive Services for the Benefit of Seriously or Severely Ill/Injured (Category II or III)

Active Duty Service Members’ issued by the Assistant Secretary of Defense for Health Affairs on

April 3, 2012 [“2012 Memo”], and the guidance to implement such policy, including any

limitations on the amount of such benefits available,” except that the time periods regarding

embryo cryopreservation do not apply.

12.     Assisted reproductive technology includes IVF. IVF is a process of fertilization where an

egg is combined with sperm in vitro, i.e., in a culture medium in a laboratory. The process involves

monitoring and stimulating a person’s ovulatory process, then retrieving one or more eggs from

her ovaries and fertilizing them with sperm in a culture medium in a laboratory. One or more

fertilized embryos are then transferred to a uterus.

13.     One of the limitations referred to by Section 234, which is included in the 2012 Memo, is

that benefits are “limited to permitting a qualified members to procreate with his or her lawful

spouse, as defined in federal statu[t]e and regulation.” See Exhibit 1.




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14.     In 2012, under DOMA, cisgender same-sex couples were not “lawful spouses.” Thus, they

were not entitled to IVF services under the 2012 Memo, or, in turn, under the 2021 Appropriations

Act.

15.     VHA Directive 1334 implements Section 234, defining VA’s “policy for ensuring access

to in vitro fertilization (IVF) services for Veterans who are unable to procreate as a result of their

service-connected condition.” The directive requires that a veteran meet several criteria to be

eligible for IVF services: (1) the veteran must have a service-connected condition that results in

the inability to procreate without the use of fertility treatment; (2) the veteran must, if female, have

an intact uterus and either be able to make eggs or have had their own eggs cryopreserved or, if

male, be able to make sperm or have had his own sperm cryopreserved; and (3) the veteran and

their spouse must be a cisgender opposite-sex legally married couple, or other legally married

couple with opposite-sex gametes/reproductive organs.

16.     Under the 2021 and 2022 Appropriations Acts and VHA Directive 1334, cisgender same-

sex spouses are barred from eligibility for IVF even if they meet all other criteria to qualify for

such services. In other words, cisgender same-sex couples are not entitled to VA health care on

the same basis as cisgender opposite-sex couples. These laws and policy continue to implement

the Defense of Marriage Act’s discriminatory definition of marriage more than a decade after the

U.S. Supreme Court held DOMA unconstitutional in United States v. Windsor, 570 U.S. 744

70 (2013).

17.     Congress and Defendant VA continue to deny same-sex couples the opportunity to start

families of their own, solely because of sex and their sexual orientation.

18.     The discriminatory law deprives same-sex couples of the dignity and equality to which

they and their marriages are entitled under the United States Constitution.




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II.     Ms. Sheffield Was Unconstitutionally Denied Access to IVF Health Care Because
        She Is Married to a Woman.

19.     Ms. Sheffield served honorably in the United States Air Force for nearly 20 years. Her

numerous commendations include but are not limited to: the Air Force Achievement Medal,

Meritorious Unit Award, Air Force Outstanding Unit Award, Air Force Good Conduct Medal,

National Defense Service Medal, Global War on Terrorism Expeditionary Medal, Global War on

Terrorism Service Medal, Air Force Expeditionary Service Ribbon, Air Force Longevity Service

Ribbon, Armed Force Reserve Medal, Operation Noble Eagle 2005-2007, Operation Noble Eagle

2011-2021, and OEF Support 2012. She medically retired from the Air Force in August 2021 at

the age of 38.

20.     In 2021, Ms. Sheffield married her wife. They live in Massachusetts and hope to conceive

a child of their own and share their passion for serving others with that child.

21.     During her military service, Ms. Sheffield was often exposed to jet fuel. Jet fuel contains

known carcinogens, as well as organic compounds that can affect the human reproductive system.

She was also exposed to high levels of polyfluoroalkyl and perfluoroalkyl substances, or PFAS,

which are also linked to infertility.

22.     As a result of her service, Ms. Sheffield incurred several physical and mental health

conditions. VA has recognized those conditions as service-connected and provided her a 100%

Permanent and Total disability rating. Ms. Sheffield also receives special monthly compensation

for loss of a creative or reproductive organ. As relevant here, VA determined that Ms. Sheffield

was entitled to a 10% rating for service-connected “disease, injury or adhesions of ovary,” which

means that her symptoms require continuous treatment. 38 C.F.R. § 4.116.

23.     Ovarian adhesions or other disease or injury can result in both pain and infertility.




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24.       Ms. Sheffield also receives special monthly compensation from VA for loss of use of a

creative (i.e., reproductive) organ, under 38 U.S.C. § 1114(k). Beginning before her retirement,

Ms. Sheffield sought fertility services through the military, using intrauterine insemination (IUI)

with donor sperm to try to conceive a child.

25.       Most infertility doctors recommend that patients attempt three or four cycles of IUI before

considering IVF; in limited circumstances, a doctor may recommend up to six cycles of IUI. This

is, in part, because the vast majority—approximately 95%—of successful IUIs occur within four

cycles.

26.       In all, Ms. Sheffield went through eight IUI cycles without successfully carrying a

pregnancy to term.

27.       After separating from the military, Ms. Sheffield promptly sought fertility treatment from

VA through her local VA Medical Center operated by the Veterans Health Administration (VHA).

Ms. Sheffield requested a referral for IVF services. VHA generally requires veterans and their

spouses seeking IVF to obtain authorization and a referral to a non-VA infertility specialist, as part

of VA’s “community care” program. VA then reimburses the cost of the IVF.

28.       In addition to her service-connected ovarian condition, Ms. Sheffield’s ability to get

pregnant was affected by her age. Fertility in women begins to rapidly decline in their late 30s,

reducing the chance of achieving pregnancy even through assisted reproductive technology like

IVF. For women under 35, the live birth rate after three IVF cycles is over 60%; for women over

40, the rate is below 25%, reaching near zero by age 44. For the purposes of medical treatment,

infertility is generally defined as the inability to become pregnant after one year of unprotected

sex for women under 35, and six months for women 35 and older.




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29.    Ms. Sheffield’s VHA physician attempted to refer her for IVF services. VA, however,

denied Ms. Sheffield’s request for IVF. When Ms. Sheffield asked why she did not qualify for

IVF, she was informed in writing by both the local Women Veterans Program Manager and her

physician’s office that it is because she is in a same-sex marriage.

30.    The local Women Veterans Program Manager specifically informed Ms. Sheffield on

August 18, 2021, in writing, “You are not qualified if your [sic] in a same sex marriage or if the

sperm is donated from someone other than a male spouse. I am sorry.”

31.    On November 4, 2021, Ms. Sheffield’s physician’s office wrote:

       I have been in contact with this veteran several times. I have told her that she can
       not [sic] receive IVF from the VA because Veterans in the same sex marriage [sic]
       do not qualify. I explained that the policy is a national policy and gave her
       information to contact her congress representatives.

32.    Ms. Sheffield wanted VA to change its policy and allow her and other veterans in same-

sex marriages to obtain IVF services. However, when VHA denied her request in November 2021,

she was already 38. If Ms. Sheffield had waited for VA to change its policy, that delay would have

decreased her chances of conceiving through IVF or eliminated it completely. Accordingly, Ms.

Sheffield was compelled to incur the considerable expense of private infertility treatment. Ms.

Sheffield has also endured ongoing emotional distress due to the discriminatory actions of

Defendants.

33.    Undeterred, Ms. Sheffield continued to try to get VA to provide her with coverage for IVF.

On April 8, 2022, Ms. Sheffield requested, through counsel, that VA cease its unconstitutional

discrimination against her and her wife.

34.    In a letter dated July 14, 2022, Ivan E. Correa, then Acting Chief of Staff for the VA Central

Western Massachusetts Health Care System (VACWM), continued to apply VHA’s

unconstitutional policy and told Ms. Sheffield that she does not meet the eligibility criteria for VA



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to authorize fertility services because “neither [her] nor [her] spouse have testicular tissue from

which sperm can be retrieved or autologous cryopreserved sperm available.” See Exhibit 2.

35.    In other words, the government decided that Ms. Sheffield does not qualify for fertility

services, including IVF, because she is a cisgender woman married to a cisgender woman. This

decision and policy are inexplicable and unconscionable a decade after the Supreme Court held

that the federal government cannot deny equal treatment to people in same-sex marriages.

                                    CLASS ALLEGATIONS

36.    Plaintiff Sheffield brings this action as a proposed class action under Rule 23 of the Federal

Rules of Civil Procedure on behalf of the following class:

       All veterans who have been denied the opportunity to obtain IVF services by VA or who

       have been denied reimbursement for services from private providers by VA because the

       veteran is in a same-sex marriage.

37.    Plaintiff reserves the right to amend the class definition or establish subclasses as

appropriate if discovery or further investigation reveals the class should be expanded or otherwise

modified.

38.    The proposed Class satisfies all of the requirements of Rule 23(a).

39.    Numerosity: The class is so numerous that joinder is impracticable. VA has identified an

estimated 1 million gay and lesbian American Veterans (approximately 2.8% of all Veterans).2

The percentage of those veterans who are otherwise eligible for IVF under the VHA’s policies and

who would like to have children is unknown. However, on information and belief, that number is




2
   Veterans with Lesbian, Gay, Bisexual and Queer Identities, VA Community Provider Toolkit. (n.d.).
https://www.mentalhealth.va.gov/communityproviders/veterans-lgb.asp#sub-section0




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at least dozens of veterans and likely to be hundreds of veterans. Joinder is also impracticable

because the class includes unnamed and future class members, who cannot be counted and joined.

40.    Commonality: The claims of the class share common issues of fact and law, including but

not limited to

       a. Whether the members of the Class were denied the opportunity to obtain IVF services

           by VA or reimbursement for private services by VA because they were in same-sex

           marriages;

       b. Whether the provisions of the 2021 Appropriations Act and VHA Directive 1334

           excluding cisgender same-sex married couples from eligibility for IVF services violates

           the Equal Protection Clause of the Fourteenth Amendment to the United States

           Constitution;

       c. What declaratory and injunctive relief are warranted regarding the Defendants’

           conduct; and What damages are warranted.

41.    Typicality: The claims of Plaintiff are typical of those of the class as a whole because

Plaintiff has been denied IVF subject to the same policies as the proposed class members, the

claims of Ms. Sheffield arise from the same pattern or practice or course of conduct that forms the

basis of the Class Members’ claims, and Ms. Sheffield brings the same legal claims based on the

same legal theory as the Class Members.

42.    Adequacy: Plaintiff is an adequate class representative who meets all the requirements of

Rule 23(a)(4). She has no conflicts in this case with other class members. She will fairly and

adequately represent the interests of the class and understands the responsibilities of a class

representative. In fact, by advocating for the government to end its discrimination against veterans

in same-sex marriages, Ms. Sheffield has already demonstrated that she will be a zealous




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representative of the Class. In addition, she has retained counsel who have extensive experience

with the factual and legal issues involved in representing the LGBTQ+ community and veterans

in asserting constitutional rights and/or in pursuing class actions. Counsel will vigorously pursue

the interests of the class.

Rule 23(b)(3) certification is appropriate.

43.     Class certification is appropriate for the proposed Class under Rule 23(b)(3). The common

questions of fact and law identified above predominate over any questions affecting only

individual Class Members, including whether the Defendants violated and continue to violate the

Equal Protection and Due Process rights of the Class, and what relief that the Plaintiffs and the

Class Members seek.

44.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy. First, the Class Members do not have an interest in individually

controlling the prosecution of separate actions, because their individual damages are unlikely to

be large enough to warrant pursuing individual litigation in court or to obtain counsel to pursue an

individual action, and because the cost of litigating the action will far exceed any potential benefit

for individual Class Members. The prosecution of separate actions by individual Class Members

would also impose heavy burdens upon the courts and would create a risk of inconsistent or varying

adjudications of the questions of law and fact common to the proposed Classes, including the key

legal question of whether the Defendants are violating the Equal Protection and Due Process rights

of the Class.

45.     A class action, on the other hand, would achieve substantial economies of time, effort, and

expense, and would assure the uniformity of decision with respect to persons similarly situated

without sacrificing procedural fairness or bringing about other undesirable results. In addition, to




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date there has not been any litigation by the Class Members regarding the practice challenged in

this action. Finally, there will be no difficulties in managing this case as a class action.

Rule 23(b)(2) certification is appropriate.

46.    Class certification is appropriate for the proposed Class under Rule 23(b)(2), because the

Defendants have acted or refused to act on grounds generally applicable to the Class, making

declaratory and injunctive relief appropriate with respect to the Plaintiff and the Class. The

Plaintiff and Class seek a declaration that the Defendants are violating their Equal Protection and

Due Process rights and seek an injunction to prohibit the Defendants from continuing to violate

the United States Constitution in the future.

Rule 23(b)(1) certification is appropriate.

47.    Class certification is appropriate for the proposed Class under Rule 23(b)(1), because

prosecuting separate actions would create a risk of inconsistent or varying adjudications with

respect to individual Class Members that would establish incompatible standards of conduct for

the party opposing the proposed Class.

                                      CLAIMS FOR RELIEF

                                         COUNT I
          (Deprivation of Equal Protection, in Violation of U.S. Const. Amends. V)

48.    Plaintiff realleges paragraphs 1 through 47 as if fully stated herein.

49.    The Fourteenth Amendment to the United States Constitution provides that no state shall

“deny to any person within its jurisdiction the equal protection of the laws.” U.S. Const. amend.

XIV, § 1. The Supreme Court has ruled that similar equal protection principles apply to the federal

government through the Fifth Amendment’s Due Process Clause. U.S. Const. amend. V. See

Bolling v. Sharpe, 347 U.S. 497 (1954).




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50.    LGBTQ+ individuals and same-sex married couples are entitled to equal protection under

federal law. Obergefell v. Hodges, 576 U.S. 644 (2015); United States v. Windsor, 570 U.S. 744

(2013); Romer v. Evans, 517 U.S. 620 (1996).

51.    Review of classification based on sex and sexual orientation demands heightened scrutiny.

See United States v. Virginia, 518 U.S. 515, 555 (1996) (holding that sex-based classifications

warrant heightened scrutiny under the Equal Protection Clause).

52.    To deny a benefit to a person because of their sexual orientation or because they are in a

relationship with a person of the same sex constitutes discrimination on the basis of sex. See

Bostock v. Clayton Cty., 140 S. Ct. 1731 (2020) (holding, in the Title VII context, that

discrimination against gay individuals because of their sexual orientation necessarily constitutes

discrimination on the basis of sex).

53.    Based on the eligibility requirements of the 2021 and 2022 Appropriations Acts and VHA

Directive 1334, infertile veterans in same-sex marriages are barred from IVF medical care through

VA, whereas infertile veterans in opposite-sex marriages qualify for IVF medical care through

VA. These eligibility requirements for IVF services discriminate against veterans on the basis of

sex and sexual orientation.

54.    The 2021 and 2022 Appropriations Acts and VHA Directive 1334’s exclusion of IVF

medical care to veterans in same-sex marriages cannot survive review under any level of

constitutional scrutiny because the denial of IVF to same-sex couples has no rational relation to a

legitimate governmental interest.

55.    The 2021 and 2022 Appropriations Acts and VHA Directive 1334’s exclusion of IVF

medical care to veterans in same-sex marriages cannot survive review under heightened scrutiny

because this exclusion does not further the advancement of an important governmental interest.




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56.       The discriminatory policies enforced by Defendants forced Ms. Sheffield and similarly

situated veterans to endure a starkly different fertility experience than veterans in opposite-sex

marriages.

57.       Plaintiff is entitled to a declaratory judgment that the 2021 and 2022 Appropriations Acts

and VHA Directive 1334’s exclusion of IVF medical care to veterans in same-sex marriages

violates the equal protection guarantees of Fifth Amendment of the United States Constitution.

                                      COUNT II
 (Discrimination Based on Sex and Sexual Orientation and Deprivation of Due Process by
                  Defendant VA, in Violation of U.S. Const. Amend. V)
58.       Plaintiff realleges paragraphs 1 through 57 as if fully stated herein.

59.       The Fifth Amendment to the United States Constitution provides that no individual shall

“be deprived of life, liberty, or property, without due process of law.” U.S. Const. amend. V.

60.       The U.S. Constitution’s due process protections protect LGBTQ+ individuals and same-

sex married couples from discrimination by the federal government on the basis of their sexual

orientation. Obergefell v. Hodges, 576 U.S. 644 (2015); United States v. Windsor, 570 U.S. 744

(2013).

61.       Based on the eligibility requirement of 2021 and 2022 Appropriations Acts and VHA

Directive 1334, infertile veterans in same-sex marriages are left without the ability meet VA’s

eligibility requirements for IVF medical care.

62.       The 2021 and 2022 Appropriations Acts and VHA Directive 1334’s eligibility

requirements for IVF discriminate against veterans on the basis of sex and sexual orientation.

63.       The 2021 and 2022 Appropriations Acts and VHA Directive 1334 bar same-sex married

couples from receiving the same IVF services available to opposite-sex married couples, and thus

constitute unconstitutional discrimination under the due process guarantees of the Fifth

Amendment.


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64.    Plaintiff is entitled to a declaratory judgment that the 2021 and 2022 Appropriations Acts

and VHA Directive 1334’s exclusion of IVF medical care to veterans in same-sex marriages

violates the Due Process Clause of the Fifth to the United States Constitution.

                                     COUNT III
(Discrimination Based on Sex and Sexual Orientation in Violation of 42 U.S.C. § 18116(a))
65.    Plaintiff realleges paragraphs 1 through 64 as if fully stated herein.

66.    Section 18116(a) of Title 42 prohibits Defendants from discriminating against veterans on

the basis of sex. Under 42 U.S.C. § 18116(a), “an individual shall not, on a ground prohibited

under . . . title IX of the Education Amendments of 1972 . . . be excluded from participation in, be

denied the benefits of, or be subjected to discrimination under, any health program or activity, any

part of which is receiving Federal financial assistance . . . or under any program or activity that is

administered by an Executive Agency[.]”

67.    Title IX of the Education Amendments of 1972, in turn, says that “[n]o person in the United

States shall, on the basis of sex, be excluded from participation in, be denied the benefits of, or be

subjected to discrimination under any education program or activity receiving Federal financial

assistance,” with some exceptions not applicable to this matter. 20 U.S.C. § 1681(a).

68.    Accordingly, Section 18116(a) of Title 42 prohibits discrimination based on sex in any

health program or activity that is administered by an Executive Agency, like VA.

69.    To deny a benefit to a person because of their sexual orientation or because they are in a

relationship with a person of the same sex constitutes discrimination on the basis of sex. See

Bostock v. Clayton Cty., 140 S. Ct. 1731 (2020).

70.    The VHA is a health program or activity administered by an executive agency.




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71.       The VHA has discriminated against Ms. Sheffield and the Class Members on the basis of

sex and sexual orientation by denying them IVF services and reimbursement because they are in

same-sex marriages.

72.       Violations of 42 U.S.C. § 18116(a) are remediable under the statute by the same

enforcement mechanisms available under title VI of the Civil Rights Act of 1964, title IX of the

Education Amendments of 1972, section 504 of the Rehabilitation Act of 1973, and the Age

Discrimination Act of 1975, which include compensatory damages.

73.       Ms. Sheffield has incurred at least $30,000 in medical costs for infertility services that

would have otherwise been covered by Defendant VA.

74.       Plaintiff seeks compensatory damages from Defendants pursuant to 42 U.S.C. § 18116(a)

for her financial and emotional losses.

                                       COUNT IV
  (Discrimination on the Basis of Sex and Sexual Orientation and Deprivation of Equal
 Protection by Officers of VA – Defendant Correa, in Violation of U.S. Const. Amend. V)
75.       Plaintiff realleges paragraphs 1 through 74 as if fully stated herein.

76.       Defendant Correa was Acting Chief of Staff in July 2022, and he acted under the authority

of VA when he denied Ms. Sheffield IVF services.

77.       Defendant Correa’s actions as an officer of VA in denying IVF services to Ms. Sheffield

constitute discrimination on the basis of sex and sexual orientation and deprived Ms. Sheffield of

equal protection and due process under the United States Constitution.

78.       Violation of a constitutional right by a federal agent acting under color of their authority

gives rise to a cause of action against that agent for damages resulting from such unconstitutional

conduct. See Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S. 388

(1971).




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79.     Defendant Correa violated the Fifth Amendment Due Process and Equal Protection rights

of Ms. Sheffield by denying her and her spouse IVF services on the basis of their sexual orientation

and sex.

80.     Defendant Correa’s denial of IVF to Ms. Sheffield has caused her to sustain substantial

damages, including incurred out of pocket medical costs for IVF, enduring emotional distress, and

attorneys’ fees and cost.

                               DEMAND FOR TRIAL BY JURY

81.     Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury on all

issues triable by jury.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that the Court:

        (1) Order Defendants to provide all veterans equal access to IVF regardless of their sexual

            orientation or whether they are in same-sex marriages;

        (2) Certify the proposed class, designate Plaintiff as the Class Representative, and

            designate Plaintiffs’ counsel as Class Counsel;

        (3) Declare that Defendants’ actions have violated the Constitution;

        (4) Declare that Defendants’ actions have violated 42 U.S.C. § 18116(a);

        (5) Enter a permanent injunction requiring Defendants to:

                a. Cease their policies of denying access to IVF to veterans in same-sex marriages;

                b. Cease enforcing the eligibility requirement b. in the VHA Directive 1334,

                    which currently requires that the veteran and spouse are in a cisgender opposite-

                    sex marriage or legally married with opposite-sex gametes/reproductive organs;

                    and




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       c. Cease application of Section 234’s exclusion of cisgender same-sex married

           couples from eligibility for IVF services.

(6) Issue a permanent injunction striking down and permanently enjoining the provisions

   of the 2021 and 2022 Appropriations Act and VHA Directive 1334 that restrict IVF

   services to cisgender opposite-sex couples and other legally married couples with

   opposite-sex gametes or reproductive organs;

(7) Issue a permanent injunction requiring Defendants to implement procedures consistent

   with the Constitution and statutory authorities to protect the rights of veterans married

   to spouses with same-sex gametes/reproductive organs’

(8) Order that VHA’s denial of Ms. Sheffield’s and Class Members’ requests for IVF

   services or for preapproval for IVF services was unlawful and should be set aside;

(9) Award Plaintiff and Class Members a judgment of compensatory damages for medical

   expenses and emotional distress resulting from Defendants’ discriminatory and

   unconstitutional conduct;

(10)   Award Plaintiff a judgment of attorneys’ fees and other litigation costs reasonably

   incurred in this action pursuant to 28 U.S.C. § 2412 and any other applicable law; and

(11)   Grant such other relief as the Court deems just and proper.




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                                    Respectfully submitted,

                                    Plaintiff Ashley Sheffield, on behalf of herself and
                                    others similarly situated,
                                    By her attorneys,
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Dated: August 2, 2023
Boston, MA




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